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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

NORIANA RADWAN                                  CIVIL ACTION NO. 3:16-CV-02091 (VAB)
PLAINTIFF,

      v.

UNIVERSITY OF CONNECTICUT                       August29, 2018
BOARD OF TRUSTEES, WARDE
MANUEL, LEONARD TSANTIRIS,
AND MONA LUCAS, INDIVIDUALLY,
DEFENDANTS


            CONSENTED TO MOTION FOR SETTLEMENT CONFERENCE

       The defendants respectfully request that a settlement conference be scheduled before

Magistrate Judge Garfinkel. Plaintiffs counsel has been consulted and consents to this request.

The following dates are available for the parties: September 28; October 5, 12.




                                                     DEFENDANTS

                                                     GEORGE JEPSEN
                                                     ATTORNEY GENERAL


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    Case 3:16-cv-02091-VAB Document 59 Filed 08/29/18 Page 2 of 2




                                         CERTIFICATION


        I hereby certify that on August 29, 2018, a copy of the foregoing Motion was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the court's electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the court's CM/ECF System.




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